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1\/1`1€11'¢111 Credlt Mauagement, Inc.

UNI'I`ED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALI:E`ORNIA

NANCY REGALADO; Case no. 2:13-cV-01107-RSVVL~VBK
Plaintiff,
STIPULATION TO*DISIVI,[SS
VS. (FRCP 41{3) (1)(A)(i1))
}/[IDLAN`D CREDIT
~I\/IANAGEl\/}ENT, INC.; ”' ' ‘ `
Defendant.

 

IT IS HEREBY STIPULATE'D `BY AND BETVVEEN PlainfiffNA.NCY
REGALADO and Defendant l\/HDLAND CREDI'I` l\/LL\NAGEl\/£ENT, INC., through
their respective counse1 Of record, that Plaintiff Shall dismiss, With prejudice, the

above~enti‘cled lawsuit in its entirety as to Defendant I\/HDLA_ND CREDIT

1 STLPULATION TO DISMISS

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M_ANAGEMENT, INC., pursuant to Federal Rule of Civil Procedure

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Dated; IVIarch 18, 2013

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LaW Offlces of Todd Friedman, ]?.C.

By: /S/ T<)dd Fm'.edman
Todd Friedman

 

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By: /S/ Keith A. Yeomans
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Attorneysfor Defendant

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